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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION
06/27/2005
RE: BENNY PEATI-IERSON v. CHARMS COMPANY
04-2157 Ml
Dear Counsel:

It appears in the above referenced cause that the parties are unable to agree on the
taxation of costs.

Pursuant to Rule 54.1 of the Local Rules for the Western District of Tennessee, the Clerk
is required to assess costs, after notice and hearing. Accordingly, the Clerk will tax costs on

|Friday, July 8, 2005 at 10:00 AM|, in the Clerk’s office located in Room 242, Clifford Davis

Federal Building, 167 North Main Street, Memphis, Tennessee. You may appear at that time and
make any argument you believe relevant, but you are not required to attend. The Clerk will
accept the citation of any law the parties think appropriate, but such submissions must be
received no later than one week prior to the scheduled hearing.

Sincerely,
Thomas M. Gould, Clerk
by:

uty Clerk

/JML]
c: Docket Clerk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CV-02157 Was distributed by faX, mail, or direct printing on
June 28, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

